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Collaieral Management Services
9750 Goethe Road | Sacramento, CA 95827
www.dealertrack.com

EXHIBIT

 

Carvana LLC

Lien and Title Information

PENGAD 800-631-6989

Account Information

 

 

 

Financed Date 4/29/2017
Perfected Date 6/8/2017
Branch Payoff Date
Borrower 1 BRENTON MASTRONARDI Dealer ID
Borrower 2 Dealer
Borrower Address 6725 SEA TURTLE WAY Dealer Address
FORT WORTH, TX 76135
Lienholder
ELT Lien ID 45478803600
Lienholder CARVANA LLC
Lienholder Address PO BOX 29002
PHOENIX, AZ 85038

Lien Release Date
Vehicle and Titting Information
VIN JTHBW1GG0E2075341 issuance Date 5125/2017
Title Number 22031342870250002 Received Date 6/25/2017
Title State TX ELT/Paper ELECTRONIC
Year 2014 Odometer Reading 33920
Make LEXS Branding
Model
Owner 1 BRENTON MASTRONARDI
Owner 2
Owner Address 6725 SEA TURTLE WAY

FORT WORTH, TX 76135

 

 

 

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